                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                         CRIMINAL DOCKET NO.: 5:96CR10

UNITED STATES OF AMERICA            )
                                    )
            vs.                     )
                                    )                        ORDER
KENNETH WAYNE CROSBY (16),          )
                                    )
            Defendant.              )
___________________________________ )

       THIS MATTER is before the Court on Defendant’s “Motion to Re-Consider Detention

Order,” filed October 21, 2005.

       On December 5, 1996, Defendant pled guilty to the charge of conspiracy to possess with

intent to distribute cocaine, cocaine base, and marijuana, in violation of 21 U.S.C. § 846. On

November 10, 1997, the Court sentenced Defendant to 120 months imprisonment and five (5)

years supervised release. Subsequently, the Government filed a Rule 35 motion and Defendant’s

sentence was reduced to 70 months imprisonment, with all other terms and conditions remaining

the same.

       Defendant was released from prison on or about March 21, 2003, at which time United

States Probation Officer Gregg Henderson was assigned to supervise Defendant. Within the first

few days of his release, Defendant tested positive for cocaine. Subsequently, Defendant enrolled

in and completed an out-patient drug treatment program. Defendant did not test positive for any

other drugs until February 2005, when Defendant’s urinalysis came back positive for marijuana.

After this positive drug test, Defendant never again met with Mr. Henderson. Mr. Henderson set

up four different appointments in March and April 2005, but Defendant never appeared for these


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meetings. Consequently, in April 2005, Mr. Henderson went to Defendant’s last-known address,

only to learn that Defendant had vacated his home without notice to his Probation Officer, in

violation of the terms of his supervised release. From March through June 2005, Mr. Henderson

did not know where Defendant was located.

        On June 16, 2005, Probation Officer Henderson filed a Petition for Warrant for Offender

for Supervision, and a warrant was issued for Defendant’s arrest on June 16, 2005. Subsequently,

in July 2005, Defendant was sentenced to and served 90 days in jail for failure to pay child

support. Then, on October 12, 2005, Defendant was arrested on the instant supervised release

violations.

        At his detention hearing on October 18, 2005, Defendant appeared before United States

Magistrate Judge Keesler, asking to be released on bond. At the conclusion of the detention

hearing, Magistrate Judge Keesler concluded that due to Defendant’s prior criminal record, which

included supervised release violations, the gravity of Defendant’s underlying conviction in the

instant case, and Defendant’s supervised release violations, including his failure to appear for

numerous meetings with his Probation Officer, his positive drug tests, his failure to notify the

Probation Officer of his change of residence, and his failure to submit monthly supervision

reports, there was a serious risk that Defendant would not appear in court and that Defendant

would endanger the safety of another person in the community. Consequently, Magistrate Judge

Keesler ordered that Defendant be detained pending a hearing on his supervised release violations.

The Defendant opposes this detention and asks the Court to review the Magistrate Judge’s

detention Order.

        This Court reviews de novo the Magistrate Judge’s detention order. 18 U.S.C. § 3145(b);


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United States v. Williams, 753 F.2d 329, 333 (4th Cir. 1985). The Court has reviewed the

recording of the detention hearing before Magistrate Judge Keesler, as well as the contents of the

criminal file in this matter. In determining whether there are conditions of release that will

reasonably assure the appearance of the Defendant and the safety of other persons and the

community, the Court must consider all the evidence regarding:

       (1)     the nature and circumstances of the offense charged, including whether the
               offense is a crime of violence or involves a narcotic drug;

       (2)     the weight of the evidence against the person;

       (3)     the history and characteristics of the person, including –
               (A)     the person’s character, physical and mental condition, family ties,
                       employment, financial resources, length of residence in the
                       community, community ties, past conduct, history relating to drug
                       or alcohol abuse, criminal history, and record concerning
                       appearances at court proceedings; and
               (B)     whether, at the time of the current offense or arrest, the person was
                       on probation, on parole, or on other release pending trial,
                       sentencing, appeal, or completion of sentence for an offense under
                       Federal, State, or local law; and

       (4)     the nature and seriousness of the danger to any person or the community
               that would be posed upon the person’s release. . . .

18 U.S.C. § 3142(g).

       Upon review of these factors and for the reasons stated herein, the Court accepts the

Magistrate Judge’s finding that detention is appropriate. In support of this conclusion, the Court

finds significant that it is undisputed that Defendant never appeared for scheduled meetings with

his Probation Officer between March and June 2005. Moreover, Defendant vacated his residence

without notification to Probation Officer Henderson. In fact, Mr. Henderson did not even know

where Defendant was located from March 7, 2005 through June 16, 2005. Defendant offered no



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legitimate explanation for this disappearance. Additionally, the underlying offense is a serious

drug charge, and Defendant has a lengthy criminal history, which includes probation violations.

       IT IS, THEREFORE, ORDERED that Defendant’s “Motion to Re-Consider Detention

Order,” is hereby DENIED. Accordingly, the Order of Magistrate Judge Keesler on October 18,

2005 is hereby AFFIRMED.

       IT IS FURTHER ORDERED that Defendant shall remain in custody pending a hearing

on his supervised release violations.

       IT IS FURTHER ORDERED that the Clerk certify copies of this Order to Defense

Counsel, the United States Attorney, the United States Marshal Service, and the United States

Probation Office.




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